             Case2:19-cv-00943-MJP
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 1                                                            The Honorable MARSHA J. PECHMAN

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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7
     SHAWN MURINKO, and DISABILITY                        NO. 19-cv-00943-MJP
 8   RIGHTS WASHINGTON, a nonprofit
     membership organization for the federally
 9   mandated Protection and Advocacy Systems,

10                                Plaintiffs,             ORDER STRIKING TRIAL AND
                                                          RELATED DATES, RETAINING
           v.
11                                                        JURSIDCTION TO ENFORCE AGREED
     CHERYL STRANGE, in her official capacity as          ORDER AND SETTLEMENT, AND
12   Secretary of the Washington State Department of      ADMINSTRATIVELY CLOSING CASE
     Social and Health Services, SUE BIRCH, in her
13
     official capacity as Director of the Washington
     State Health Care Authority,
14
                                  Defendants.
15

16                                                    ORDER

17          The Court has considered the Parties’ Joint Status Report Regarding Settlement and

18   Stipulated Motion to Retain Jurisdiction to Enforce Agreed Order and Settlement and

19   Administratively Close Case. Based on the parties’ stipulated motion and attached agreement,

20   this Court hereby orders:

21          1. Trial and all related dates set forth in Dkt. No. 145 are stricken.

22          2. This Court shall retain jurisdiction over this action for purposes of enforcing the

23              terms of the Agreed Order and Settlement.
     ORDER STRIKING TRIAL AND RELATED DATES,                                    Disability Rights Washington
     RETAINING JURISDICTION TO ENFORCE AGREED                               315 5 th Avenue South, Suite 850
     ORDER AND SETTLEMENT AND                                                    Seattle, Washington 98104
     ADMINISTRATIVELY CLOSING CASE- 1                                  (206) 324-1521  Fax: (206) 957-0729
     Case: 19-cv-00943-MJP
              Case2:19-cv-00943-MJP
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 1          3. The case is stayed and administratively closed, subject to a motion to lift the stay in

 2              order to enforce compliance with any provision of the Agreed Order and Settlement.

 3          IT IS SO ORDERED this 18th day of September 2020.

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 6                                                HONORABLE MARSHA J. PECHMAN
                                                  UNITED STATES DISTRICT JUDGE
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 8
     Presented By:
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     DISABILITY RIGHTS WASHINGTON
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     /s/ Sarah Eaton
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     Attorneys for Plaintiffs
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     ORDER STRIKING TRIAL AND RELATED DATES,                                   Disability Rights Washington
     RETAINING JURISDICTION TO ENFORCE AGREED                              315 5 th Avenue South, Suite 850
     ORDER AND SETTLEMENT AND                                                   Seattle, Washington 98104
     ADMINISTRATIVELY CLOSING CASE- 2                                 (206) 324-1521  Fax: (206) 957-0729
     Case: 19-cv-00943-MJP
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     ORDER STRIKING TRIAL AND RELATED DATES,                       Disability Rights Washington
     RETAINING JURISDICTION TO ENFORCE AGREED                  315 5 th Avenue South, Suite 850
     ORDER AND SETTLEMENT AND                                       Seattle, Washington 98104
     ADMINISTRATIVELY CLOSING CASE- 3                     (206) 324-1521  Fax: (206) 957-0729
     Case: 19-cv-00943-MJP
